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December 2, 2019

Via E-Filing

The Honorable Ann Marie Donio, U.S.M.J.
Mitchell H. Cohen Courthouse

4” & Cooper St.., Room 2040

Camden, NJ 08101

RE: MARA SMITH v. PRISON TRANSPORT SERVICES OF AMERICA,
INC.,, et al.
Civil Action No.: 1:17-cv-13862-RBK-AMD

Dear Judge Donio:

I represent the plaintiff, Mara Smith, in the above-referenced matter. Your Honor
scheduled a Status Conference for December 9, 2019, based upon the sentencing in the
criminal case involving defendant, Jermaine Taylor, occurring on November 1, 2019.

I am advising the Court that I have been advised by the Prosecutor’s office that
the Prosecutor’s file will not be available for subpoena until at least forty-five days after
the close of the criminal case, which would be mid-December. Further, I expect that
once subpoenaed, my office will not receive a response until after the new year. It is
expected that the information contained in the Prosecutor’s file will greatly affect the
type of discovery required in this matter and the timeline for such discovery, which is
expected to occur in various regions of the country.

In light of this information and the continued Stay in this civil case, it may make
sense to adjourn the December 9, 2019 Status Conference until after receipt of the
Prosecutor’s file. I am submitting this letter with consent of defendants’ counsel, Linton
W. Turner, Jr., Esquire.

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Of course, we will proceed however Your Honor wishes.

Your attention and consideration are greatly appreciated.

(Zfe
Danie} P. Hartstein

DPH:em

cc: Linton W. Turner, Jr., Esquire
